                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

HOUSTON CASUALTY COMPANY,             )
                                      )
                   Plaintiff,         )
                                      )
            v.                        )          1:17CV40
                                      )
THOMAS LINDERMAN GRAHAM, INC.,        )
                                      )
                   Defendant.         )

                     MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.

      Plaintiff Houston Casualty Company (“HCC”) brings this action

seeking a declaratory judgment that it owes no further duty to

defend   its   insured,   Defendant     Thomas   Linderman     Graham,    Inc.

(“TLG”), in a State court action presently on appeal.               TLG now

moves to dismiss the complaint, contending that it contravenes a

forum-selection clause in the parties’ May 1, 2015 settlement

agreement (“Agreement”) in an earlier duty-to-defend declaratory

judgment action by HCC involving the same State court action.              The

forum-selection     clause   required     any    action   to   enforce    the

Agreement to be brought in Wake County Civil Superior Court. (Doc.

8 at 1.)    For the reasons explained below, the court finds that

the Agreement’s forum-selection clause does not encompass HCC’s

present action.    TLG’s motion to dismiss must therefore be denied.

I.    BACKGROUND

      Viewed in the light most favorable to HCC, the operative facts




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are as follows:

       Defendant TLG, a real estate agency, held a professional

liability insurance policy with Plaintiff HCC.                    (Doc. 1 at 8,

¶ 19.)     In 2006, the owner of a commercial property in Durham

retained TLG to prepare an offering memorandum for prospective

purchasers.        (Id. at 4, ¶ 12.)             Triple Net Properties, LLC,

eventually purchased the property and sold fractional interests to

a number of parties.         (Id. at 4-5, ¶ 12.)         The ultimate purchasers

sued TLG in 2012, alleging that its memorandum overrepresented the

likelihood that existing tenants would renew their leases (and

therefore overrepresented the property’s value).                  (Doc. 1 at 5,

¶ 12.)

       While that action was pending, HCC brought a declaratory

judgment action against TLG in Wake County Civil Superior Court,

seeking a declaration that it had no duty to defend TLG in the

property owners’ lawsuit.             (Id. at 11, ¶¶ 25-26; Doc. 10-1 at 4-

6.)   TLG filed an answer and counterclaims.               (Doc. 1 at 11, ¶ 26.)

On January 10, 2014, the Superior Court held that HCC had a duty

to defend TLG (Doc. 10-1 at 5-6), and on May 1, 2015, HCC and TLG

settled    their       dispute   by   entering    into    the   Agreement.   The

Agreement    is    a    short,   three-paragraph      document    that   provides

principally that each party dismiss all claims against the other

with prejudice, agree to adhere to the Superior Court’s rulings,

and acknowledge that the Agreement would not release any party

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from “any potential future contractual duties or obligations which

may accrue after April 27, 2015, or any causes of action that arise

therefrom.”       (Id. at 1-7.)   The last sentence reads: “Any action

to enforce this Agreement shall be filed in Wake County, North

Carolina, Civil Superior Court.”          (Id. at 3.)

       Meanwhile, HCC made a settlement offer to the property owners

on TLG’s behalf in the underlying lawsuit.              (Id. at 11, ¶ 29.)

The owners accepted the offer, but TLG refused to consent to it.

(Id. at 12, ¶ 31.)      Thereafter, the court granted TLG’s motion for

summary judgment and dismissed all the claims then pending.           (Doc.

1 at 7, ¶ 16.)         The property owners have since appealed that

ruling.

       In the present case, HCC contends that under the insurance

policy, TLG’s refusal to consent to the settlement excused HCC

from further defending TLG in the action.         (Id. at 12, ¶ 33.)       HCC

therefore seeks a declaratory judgment from this court that it had

no duty to defend TLG following TLG’s refusal to consent to the

settlement.

       TLG now moves to dismiss the complaint for improper venue on

the basis that the Agreement’s forum-selection clause makes venue

in this court improper.

II.    ANALYSIS

       A.   Standard of Review

       A motion to dismiss based on a forum-selection clause is

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treated as a motion to dismiss for improper venue, pursuant to

Rule 12(b)(3).   Sucampo Pharm., Inc. v. Astellas Pharma, Inc., 471

F.3d 544, 550 (4th Cir. 2006).     “On a motion to dismiss under Rule

12(b)(3), the court is permitted to consider evidence outside the

pleadings.   A plaintiff is obliged, however, to make only a prima

facie showing of proper venue in order to survive a motion to

dismiss.   In assessing whether there has been a prima facie venue

showing, [the court views] the facts in the light most favorable

to the plaintiff.”    Aggarao v. MOL Ship Mgmt. Co., 675 F.3d 355,

365–66 (4th Cir. 2012) (citations omitted).

     B.    Scope of the Forum-Selection Clause

           1.    Choice of Law

     “Interpreting a forum-selection clause first requires the

court to ascertain what law applies to the contract, because the

court must apply that law to decide the scope of the contract’s

relevant clauses.”     Generation Companies, LLC v. Holiday Hosp.

Franchising, LLC, No. 5:15-CV-220-FL, 2015 WL 7306448, at *4

(E.D.N.C. Nov. 19, 2015) (citing Atl. Marine Const. Co. v. U.S.

Dist. Court for W. Dist. of Tex., 134 S. Ct. 568, 583–84 (2013)).

Here, neither party contends that the Agreement’s forum-selection

clause is unenforceable; 1 the only dispute is over its scope.


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  “When a forum-selection clause is asserted as the basis for a motion
to transfer under § 1404(a), its validity and effect are governed by
federal law regardless of the basis for the court’s subject-matter
jurisdiction.” Eisaman v. Cinema Grill Sys., Inc., 87 F. Supp. 2d 446,
448 n.1 (D. Md. 1999) (citing Stewart Org., Inc. v. Ricoh Corp., 487

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     “‘[T]he body of law selected in an otherwise valid choice-

of-law clause’ governs the interpretation of a forum-selection

clause.”   Queen City Pastry, LLC v. Bakery Tech. Enterprises, LLC,

No. 5:14-CV-143, 2015 WL 3932722, at *3 (W.D.N.C. June 26, 2015)

(quoting Martinez v. Bloomberg LP, 740 F.3d 211, 218 (2d Cir.

2014)) (alteration in original). Here, the Agreement selects North

Carolina law (Doc. 10-1 at 2), so the court will apply North

Carolina   law   to    determine    whether   the    forum-selection    clause

encompasses HCC’s claims.

           2.     Scope of the Forum-Selection Clause

     Under North Carolina law, settlement agreements are construed

according to principles of ordinary contract interpretation.                  ABD

Associated,     Ltd.   v.   Am.   Tobacco   Co.,    No.   1:91CV415,   2004    WL

1554155, at *3 (M.D.N.C. July 8, 2004) (citing Chappell v. Roth,

353 N.C. 690, 692, 548 S.E.2d 499, 500 (2001)).                North Carolina

contract law gives words their ordinary meaning, id. at 4 (citing

Internet E., Inc. v. Duro Commc’ns, Inc., 146 N.C. App. 401, 405–

06, 553 S.E.2d 84, 87 (2001)), and requires courts to interpret

“clear and unambiguous” language as it is written, id. (quoting

Corbin v. Langdon, 23 N.C. App. 21, 25, 208 S.E.2d 251, 254

(1974)).   Cf. Rivera v. Centro Medico de Turabo, Inc., 575 F.3d




U.S. 22, 29–31 (1988)). Here, of course, TLG asserts the clause as a
basis for a motion to dismiss. Cf. id. at 448-49 (applying State law
to a forum-selection clause to decide a motion to dismiss).

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10, 19 (1st Cir. 2009) (“[I]t is the language of the forum

selection clause itself that determines which claims fall within

its scope.”).      A term is ambiguous if it is “fairly and reasonably

susceptible       to   either   of    the       constructions        asserted   by     the

parties.”    Williams v. Aluminum Co. of Am., No. 1:00CV00379, 2006

WL 2023133, at *2 (M.D.N.C. July 17, 2006) (quoting Glover v. First

Union Nat’l Bank of N.C., 109 N.C. App. 451, 456, 428 S.E.2d 206,

209 (1993)), aff’d, 234 F. App’x 73 (4th Cir. 2007).                        Unambiguous

language    is    interpreted    as    a    matter       of   law;    the    meaning    of

ambiguous language is a question of fact.                     ABD Associated, Ltd.,

2004 WL 1554155, at *4 (citing Taha v. Thompson, 120 N.C. App.

697, 701, 463 S.E.2d 553, 556 (1995)).

     The Agreement’s forum-selection clause provides: “Any action

brought to enforce this Agreement shall be filed in Wake County,

North Carolina, Civil Superior Court.”                    (Doc. 10-1 at 2.)            The

language at issue here is the first clause, “Any action brought to

enforce    this    Agreement.”        HCC       argues    that   this       language    is

unambiguous and that its present lawsuit does not fall within it.

(Doc. 16 at 6.)         TLG does not offer an interpretation of this

phrase, as such, but necessarily reads it as more expansive. 2


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  TLG’s motion rests largely on the following language from Atlantic
Marine Construction Co.: “When the parties have agreed to a valid forum-
selection clause, a district court should ordinarily transfer the case
to the forum specified in that clause.        Only under extraordinary
circumstances unrelated to the convenience of the parties should a
§ 1404(a) motion be denied.” 134 S. Ct. at 581 (footnote omitted). That
rule, however, “presupposes a contractually valid forum-selection

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     A   term    is    ambiguous     if    it     is   “fairly    and    reasonably

susceptible     to    either    of   the       constructions     asserted   by   the

parties.”     Williams, 2006 WL 2023133, at *2 (citation omitted).

At most, TLG contends that the Agreement incorporated the 2014

summary judgment order that required HCC to continue to defend the

underlying action “until all the covered claims were ‘finally

resolved.’”     (Doc. 19 at 1-3.)          TLG argues that because the case

is on appeal, the action is not finally resolved.                       (Id. at 3.)

From this, TLG concludes, “the duty assumed in [the Agreement]

is . . . a central component of the current dispute between the

parties.”   (Id. at 4.)        Elsewhere, TLG intonates that it construes

the clause to mean that “all further litigation involving the

issues at issue should be litigated” in the agreed-upon court.

(Id. at 3; see also id. (stating that the agreement “specifically

provided that any subsequent actions relating to that matter would

be filed in” the selected court).)

     HCC acknowledges that its present claims are substantially

related to the Agreement but contends that the present action was


clause,” id. at 581 n.5, and, “by extension[,] . . . a dispute that
unquestionably falls within the scope of that contract,” Indus. Print
Techs. LLC v. Canon U.S.A., Inc., No. 2:14-CV-00019, 2014 WL 7240050,
at *2 (E.D. Tex. Dec. 19, 2014). Accord Telesocial Inc. v. Orange S.A.,
No. 14-CV-03985-JD, 2015 WL 1927697, at *3 (N.D. Cal. Apr. 28, 2015)
(“If the claims do not fall within the scope of the forum selection
clause, the Court need not reach the forum non conveniens issue, and
Orange’s lengthy discussion of Atlantic Marine is nothing more than
interesting but irrelevant commentary.” (citation omitted)). In other
words, Atlantic Marine addressed the effects of forum-selection clauses,
not their scope.

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not brought to enforce that Agreement, as required by the plain

language of the forum-selection clause.          (Doc. 16 at 5.)          HCC

correctly points out that it has made no allegation that TLG

violated any term of the Agreement.         (Id.)    HCC relies on the

Agreement’s clear terms, urging the court to “enforce the contract

as the parties have made it” and not “remake” it.              (Id. at 6

(quoting Wake Cty. Hosp. Sys., Inc. v. Nat’l Cas. Co., 804 F. Supp.

768, 773 (E.D.N.C. 1992), aff’d, 996 F.2d 1213 (4th Cir. 1993)).)

     The    language   in    question,   “brought     to   enforce       this

Agreement,” is not “fairly and reasonably susceptible to” TLG’s

construction.    In essence, TLG asks the court to read the phrase

“actions brought to enforce the Agreement” to mean “actions of

which the Agreement is a central component” or “actions involving

the issues the Agreement addressed” or “actions relating to the

Agreement.”     These constructions are substantially broader than

the plain language.    For an action to be brought “to enforce” the

Agreement, the action must in some way rely on the Agreement or

allege a violation of its terms.     At the very least, such an action

must allege facts that, if true, would show that the Agreement was

violated or would show that it entitles the claimant to some

relief.    The language TLG proposes would encompass any action that

relates to the Agreement or its underlying terms.

     Because the phrase in question is not ambiguous, its meaning

is a question of law.       As North Carolina law dictates, the court

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will accord the phrase its clear, ordinary meaning.         Because only

one party has offered a construction of the phrase, and because

that construction accords with its plain language, the court will

adopt it.

     Under the ordinary meaning of the forum-selection provision,

it is plain that the action was not brought “to enforce the

Agreement.”    The Agreement contains seven terms, only three of

which could be “enforced.” 3     First, each party was to execute a

notice of dismissal with prejudice pursuant to North Carolina Rule

of Civil Procedure 41.    (Doc. 10-1 at 1, ¶ 1.)     Second, the parties

agree to bear their own costs and expenses.           (Id. at 1, ¶ 2.)

Finally, the parties agree to “follow” the 2014 summary judgment

order, which is incorporated into the Agreement by reference.

(Id.)   The only term in the order that would need to be “followed”

is its holding that HCC “has a continuing duty to defend the

underlying action . . . until all the potentially covered claims

are finally resolved.”     (Id. at 5-6.)

     HCC does not allege that TLG violated any of these terms, nor

does it invoke the Agreement for any form of relief.         It does not

allege facts that would constitute a violation of the Agreement on

TLG’s part.   Of course, TLG alleges in a counterclaim that HCC is


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  The other four terms are the forum-selection clause (Doc. 10-1 at 2),
the choice-of-law clause (id.), and provisions deeming the settlement
agreement’s consideration “material” (id. at 1) and recognizing that it
does not release the parties from obligations that accrue after April
27, 2015 (id. at 1, ¶ 3).

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acting   in   violation   of   the   Agreement’s   requirement   that    HCC

continue to defend TLG in the underlying action.         (Doc. 10 at 12,

¶ 67 (“[TLG] seeks a declaratory judgment declaring that the

plaintiff has breached its duty to continue to provide a defense

in the underlying action . . . .”).)         But TLG did not bring this

action; HCC did.

     The parties negotiated for the settlement agreement “at arms-

length” (Doc. 8-1 at 1, ¶ 5 (affidavit of TLG’s president, John B.

Linderman, Jr.)), and they were free to bargain for any of the

terms TLG now proffers.        They did not.    Rather, they settled on

the phrase, “Any action brought to enforce this Agreement.”              HCC

did not bring this action to enforce the Agreement, and HCC’s

claims will not have the effect of enforcing it.             This action

therefore falls outside the scope of the forum-selection clause.

III. CONCLUSION

     For the reasons stated, the court finds that this action is

outside the scope of the parties’ forum-selection clause.

     IT IS THEREFORE ORDERED that the motion to dismiss (Doc. 8)

is DENIED.

                                             /s/   Thomas D. Schroeder
                                          United States District Judge

July 25, 2017




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